                                                                                Form 1                                                                            Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        18-10177-7 DLS                                                      Trustee: (360070)           DARCY D. WILLIAMSON
Case Name:          Social Networking Technology Inc.                                   Filed (f) or Converted (c): 02/12/18 (f)
                                                                                        §341(a) Meeting Date:       03/19/18
Period Ending:      09/30/21                                                            Claims Bar Date:            07/27/18

                               1                                       2                       3                          4                  5                    6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

 1       Accounts Receivable (Fast Pay has lien) (See Footnote)    1,063,453.00                         0.00                                     0.00                    FA

 2       Patent for Sys/Methods Del. Adv. No. 15/811,795 (See         16,799.00                    16,799.00                               200,000.00                    FA
         Footnote)

 3       Patent for Sys/Meth Categ Web Pgs No. 15/811,792             16,799.00                    16,799.00                                     0.00                    FA

 4       Patent No. 15/672,577 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

 5       Patent No. 15/672,573 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

 6       Patent No. 15/672,551 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

 7       Patent No. 15/585,752 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

 8       Patent No. 62/442,553 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

 9       Patent No. 62/332,049 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

10       Patent No. 62/372,821 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

11       Patent No. 62/372,822 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

12       Patent No. 62/372,823 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

13       Patent No. 62/422,271 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

14       Patent No. 62/423,388 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

15       Patent No. 62/442,555 (Estimate only)                        16,799.00                    16,799.00                                     0.00                    FA

16       SNT Media.com                                                     0.00                         0.00                                     0.00                    FA

17       Security Deposits (See Footnote)                                  0.00                         0.00                                     0.00                    FA

18       Holder of Prepayments                                             0.00                         0.00                                     0.00                    FA

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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         18-10177-7 DLS                                                       Trustee: (360070)           DARCY D. WILLIAMSON
Case Name:           Social Networking Technology Inc.                                    Filed (f) or Converted (c): 02/12/18 (f)
                                                                                          §341(a) Meeting Date:       03/19/18
Period Ending:       09/30/21                                                             Claims Bar Date:            07/27/18

                                1                                       2                        3                          4                  5                    6

                       Asset Description                             Petition/           Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled      (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                      Values           Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                     and Other Costs)                                                 Remaining Assets

19       Crossfirst Bank checking (operation acct) #1211                    56.56                       56.56                                       56.56                  FA

20       Crossfirst Bank checking (operating acct) #8236               23,486.42                     23,486.42                                23,125.32                    FA

21       Notes Receivable - Kevin Owens (See Footnote)                 49,399.00                       350.00                                        0.00                  FA

22       Avoidance Action against FinCo (est) (u) (See Footnote)             0.00                         0.00                                       0.00                  FA

23       Advoidance Action against A. Baganov (est) (See                     0.00                 270,000.00                                         0.00         122,500.00
         Footnote)

24       Cash found in file drawer. (u)                                      0.00                      100.00                                      100.00                  FA

25       Office furniture, leasehold & computers                      210,069.00                     93,275.00                                93,275.00                    FA

26       Cigna Insurance Refund (u)                                     Unknown                       4,234.12                                 4,234.12                    FA

27       Potential O & D & Malpractice Claim (u) (See Footnote)         Unknown                           0.00                                       0.00                  FA

28       Possible other 547 & 548 Avoidance Actions (Est) (u)           Unknown                   119,563.70                                  82,039.70             37,524.00
         (See Footnote)

28       Assets           Totals (Excluding unknown values)        $1,581,649.98                 $746,251.80                               $402,830.70           $160,024.00

     RE PROP# 1          After investigation, determined Fast Pay had valid lien. The Compromise Order of 4/8/2019 and
                        4/11/2019 resolved this lien dispute. See Footnote #2.
     RE PROP# 2          THROUGH PROP 15: IP Assets. Trustee has sold and compromised per Order and Agreement with FastPay
                        and Wichita FinCo. For purposes of this report only, trustee used debtor's scheduled value on
                        Petition. Trustee's attorney sought value estimates and other sale offers before compromise.
     RE PROP# 17         Landlord entitled to offset, due to lease default.
     RE PROP# 21         Following the adversary filiing, for over $62,000, defendant offered defenses and releases and the
                        matter was settled for $350.00. SEE ASSET 28.
     RE PROP# 22         Matter was Compromised per 4/11/2019 Order. (See also Assets 1 and 2).
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       18-10177-7 DLS                                                              Trustee: (360070)           DARCY D. WILLIAMSON
Case Name:         Social Networking Technology Inc.                                           Filed (f) or Converted (c): 02/12/18 (f)
                                                                                               §341(a) Meeting Date:       03/19/18
Period Ending:     09/30/21                                                                    Claims Bar Date:            07/27/18

                              1                                            2                          3                          4                    5                     6

                     Asset Description                                  Petition/            Estimated Net Value             Property            Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned            Received by       Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                    Remaining Assets


    RE PROP# 23       Trustee originally estimated gross value to be $349,000 less costs and fees of litigation to net
                     $270,000. On 8/3/21 Judge Norton mediated the dispute and recommended settlement of $122,500 due to
                      defenses raised by the defendant for the first time. The parties have accepted. A Motion to
                     Compromise was filed. Value is $122,500 if compromisse is approved.
    RE PROP# 27       Trustee originally estimated property to exceed $100,000. Attorneys versed in O & D claims
                     investigated and evaluated possible causes of action. Did not pursue due to cost and evidentiary
                     and legal issues as stated by counsel.
    RE PROP# 28       The trustee and/or counsel have reviewed records and issued 547 and 548 demand letters with a face
                     value of over 2.4 Million to vendors. Received some responses (for which suit was not filed due
                     to defenses). For those with no response, demand letters were issued and 23 lawsuits were filed,
                     including Assets 21 & 23.. After adversaries were filed, many defendants then offered defenses and
                     / or compromises have been entered in several adversaries. A Motion for Summary Judgment remains in
                      one suit requesting judgment in the amount of $37,524.00.


    Major Activities Affecting Case Closing:
            The trustee inspected the rental premises and property therein and met with counsel and VP of Finance informally to obtain corporate information in addition to the 341
            hearing. Trustee and Counsel for the estate secured corporate records and reviewed the same (records and data were voluminous). Trustee rejected lease via an
            Agreed Order and hired an auctioneer to sell the office equipment and furniture per motion and order (sold). Employed a professional to clean the computers and they
            were compromised and sold per 4/8/19 and 4/11/19 Orders. W-2's and 1099's were prepared for employees, Other litigation was commenced and reesolved to
            determine secured status of lenders/investors on company assets.

            Per court order buyers purchased the IP assets. Prior to compromise and sale, non disclosure agreements were sent to three IP Brokers to evaluate IP assets' value
            and potential buyers.

            Specal Counsel was hired to wind up 401K plan. The same is completed.
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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       18-10177-7 DLS                                                            Trustee: (360070)           DARCY D. WILLIAMSON
Case Name:         Social Networking Technology Inc.                                         Filed (f) or Converted (c): 02/12/18 (f)
                                                                                             §341(a) Meeting Date:       03/19/18
Period Ending:     09/30/21                                                                  Claims Bar Date:            07/27/18

                              1                                           2                         3                          4                    5                    6

                      Asset Description                                Petition/           Estimated Net Value             Property           Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                        Values           Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                   Remaining Assets


            Two prior adversaries filed were resolved per Court Order. Insurance company was notified of possible D & O Claims against officers and directors. Outside counsel
            evaluated and the items were not pursued because of costs and evidence and legal hurdles. Hence, they were insufficient to pursue. Demand letters were issued on
            Asset 23 and 21 and other adversaries (Asset 28). Bar date was requested. To continue to pursue judgment and assets in the two remaining adversaries as
            appropriate. Accountant prepared estate tax returns for prior years. An estate tax return will be done again for 2021.

    Initial Projected Date Of Final Report (TFR): June 30, 2019                          Current Projected Date Of Final Report (TFR): April 30, 2022




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                                                            Cash Receipts And Disbursements Record
Case Number:         18-10177-7 DLS                                                                    Trustee:         DARCY D. WILLIAMSON (360070)
Case Name:           Social Networking Technology Inc.                                                 Bank Name:       Metropolitan Commercial Bank
                                                                                                       Account:         ******9642 - Checking Account
Taxpayer ID #:       **-***0871                                                                        Blanket Bond:    $23,898,000.00 (per case limit)
Period Ending:       09/30/21                                                                          Separate Bond:   N/A

   1           2                           3                                        4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                 Description of Transaction            T-Code           $                    $               Account Balance
05/08/19                  Transition Transfer Credit          Transition Transfer Credit                    9999-000          77,638.95                                   77,638.95
03/31/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                      62.04           77,576.91
04/30/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     123.99           77,452.92
05/05/20     10107        U.S. Bankruptcy Court Clerk         Filing Fees for Adversary Cases per Order dtd 2700-000                                    8,050.00          69,402.92
                                                              5/4/20
05/12/20      {28}        Cigna Health and Life Insurance     Settlement Per Adversary 20-05023             1229-000               500.00                                 69,902.92
                          Company
05/29/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     113.26           69,789.66
06/30/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     118.98           69,670.68
07/24/20      {28}        Bugsnag Inc                         Settlement per Adversary 20-5038              1229-000              4,500.00                                74,170.68
07/28/20      {28}        VeriSign                            Settlement per Adversary 20-5027              1229-000          14,000.00                                   88,170.68
07/31/20      {28}        AVI Seabar and Chophouse            Settlement per Adversary 20-5028              1229-000              3,500.00                                91,670.68
07/31/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     118.98           91,551.70
08/03/20      {28}        Black Diamond Solutions Inc         Settlement per Adversary 20-5039              1229-000               500.00                                 92,051.70
08/04/20      {28}        Hearst Business Communications      Settlement per Adversary 20-5032              1229-000               999.00                                 93,050.70
08/31/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     143.47           92,907.23
09/10/20      {28}        Cox Enterprises, Inc.               Proceeds from Order to Compromise and         1229-000          18,000.00                                  110,907.23
                                                              Settlement Agreement dtd 8/27/20
09/15/20      {28}        Civitas Media                       Settlement per Adversary 20-5037              1229-000               500.00                                111,407.23
09/17/20      {28}        American Express                    Settlement per Adv. 20-5029                   1229-000              3,766.70                               115,173.93
09/17/20      {28}        American Express                    Settlement per Adv. 20-5029                   1229-000               124.00                                115,297.93
09/17/20      {28}        American Express                    Settlement per Adv. 20-5029                   1229-000              3,500.00                               118,797.93
09/17/20      {28}        American Express                    Settlement per Adv. 20-5029                   1229-000              3,000.00                               121,797.93
09/18/20      {28}        Attom Data Solutions                Settlement per Adv. 20-5033                   1229-000              1,300.00                               123,097.93
09/30/20                  Metropolitan Commercial Bank        Bank and Technology Services Fee              2600-000                                     186.01          122,911.92
10/02/20      {28}        IBM/TWC Product and Tech            IBM wire transfer Settlement Agreement        1229-000              2,500.00                               125,411.92
10/15/20      {28}        Xandr                               Settlement per Adv 20-05042                   1229-000              7,500.00                               132,911.92
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                                                                                                        Subtotals :         $141,828.65             $8,916.73
  {} Asset reference(s)                                                                                                                        Printed: 10/26/2021 11:24 AM    V.20.36
                                                                                Form 2                                                                                    Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         18-10177-7 DLS                                                               Trustee:          DARCY D. WILLIAMSON (360070)
Case Name:           Social Networking Technology Inc.                                            Bank Name:        Metropolitan Commercial Bank
                                                                                                  Account:          ******9642 - Checking Account
Taxpayer ID #:       **-***0871                                                                   Blanket Bond:     $23,898,000.00 (per case limit)
Period Ending:       09/30/21                                                                     Separate Bond:    N/A

   1           2                         3                                       4                                        5                     6                     7
 Trans.     {Ref #} /                                                                                                  Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From               Description of Transaction          T-Code           $                    $             Account Balance
10/26/20      {28}        Magnite Inc                        Pref Pmt per Settlement Agreement           1229-000         11,000.00                                  143,911.92
10/30/20                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   208.52           143,703.40
11/30/20                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   222.03           143,481.37
12/04/20      {28}        DreamChase                         Settlement per Adversary 20-5024            1229-000             2,000.00                               145,481.37
12/31/20                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   255.16           145,226.21
01/06/21      {28}        Neilsen Company (Gracenote, Inc)   Payment on Settlement of Preference Payment 1229-000             1,000.00                               146,226.21
01/21/21      {28}        Capital One                        Kevin Owens Settlement 20-05046             1229-000              350.00                                146,576.21
01/29/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   226.35           146,349.86
02/17/21     10108        Fast Pay Partners                  Per Compromise and Settlement Agreement     4210-000                               40,000.00            106,349.86
                                                             4/11/2019
02/26/21      {28}        XML Team Solutions                 ACH Deposit 0 547 & 548 Avoidance Actions   1229-000             3,500.00                               109,849.86
02/26/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   218.92           109,630.94
03/31/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   193.27           109,437.67
04/30/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   175.39           109,262.28
05/28/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   163.44           109,098.84
06/30/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   192.34           108,906.50
07/30/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   174.54           108,731.96
08/31/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   185.88           108,546.08
09/30/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee            2600-000                                   173.97           108,372.11




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                                                                                                    Subtotals :          $17,850.00            $42,389.81
  {} Asset reference(s)                                                                                                                    Printed: 10/26/2021 11:24 AM    V.20.36
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                                                     Cash Receipts And Disbursements Record
Case Number:       18-10177-7 DLS                                                         Trustee:         DARCY D. WILLIAMSON (360070)
Case Name:         Social Networking Technology Inc.                                      Bank Name:       Metropolitan Commercial Bank
                                                                                          Account:         ******9642 - Checking Account
Taxpayer ID #:     **-***0871                                                             Blanket Bond:    $23,898,000.00 (per case limit)
Period Ending:     09/30/21                                                               Separate Bond:   N/A

  1           2                     3                                   4                                        5                  6                     7
Trans.     {Ref #} /                                                                                          Receipts       Disbursements          Checking
 Date      Check #         Paid To / Received From           Description of Transaction         T-Code           $                 $             Account Balance
                                                                    ACCOUNT TOTALS                              159,678.65          51,306.54          $108,372.11
                                                                        Less: Bank Transfers                     77,638.95               0.00
                                                                    Subtotal                                     82,039.70          51,306.54
                                                                        Less: Payments to Debtors                                         0.00
                                                                    NET Receipts / Disbursements                $82,039.70         $51,306.54




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 {} Asset reference(s)                                                                                                         Printed: 10/26/2021 11:24 AM    V.20.36
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                                                         Cash Receipts And Disbursements Record
Case Number:         18-10177-7 DLS                                                                 Trustee:          DARCY D. WILLIAMSON (360070)
Case Name:           Social Networking Technology Inc.                                              Bank Name:        Mechanics Bank
                                                                                                    Account:          ******0666 - Checking Account
Taxpayer ID #:       **-***0871                                                                     Blanket Bond:     $23,898,000.00 (per case limit)
Period Ending:       09/30/21                                                                       Separate Bond:    N/A

   1           2                           3                                      4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                 Description of Transaction           T-Code          $                    $               Account Balance
02/20/18      {19}        Social Networking Technology      Bank Balances received by Bill Sorenson and    1129-000               56.56                                       56.56
                                                            forwarded to CH 7 Tee.
02/20/18      {20}        Social Networking Technology      Bank balance                                   1129-000         23,125.32                                   23,181.88
02/28/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     10.00           23,171.88
03/30/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     33.32           23,138.56
04/30/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     32.16           23,106.40
05/03/18      {24}        Bud Palmer Auction                Cash found in File Drawer                      1229-000              100.00                                 23,206.40
05/22/18      101         One Twenty South Main LLC         Rental payment for 110 S. Main, Wichita KS     2410-000                                   5,000.00          18,206.40
                                                            67202per Order dtd 5/11/18
05/31/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     36.69           18,169.71
06/08/18      {26}        Cigna                             Refund of Insurance Prepayments                1229-000             4,194.12                                22,363.83
06/13/18      {25}        Bud Palmer Auction                Proceeds from Auction of Personal Property     1129-000         93,275.00                                  115,638.83
                                                            per order dtd 5/7/18
06/14/18      102         One Twenty South Main LLC         Rental Pmt for 110 S Main Wichita KS per       2410-000                                    400.00          115,238.83
                                                            Order dtd 5/7/18
06/18/18      103         Bud Palmer Auction                Auction Fees Per Order dtd 5/7/2018                                                   19,796.25             95,442.58
                                                              Commissions                     13,991.25    3620-000                                                     95,442.58
                                                              Advertising for Auction          1,130.00    3620-000                                                     95,442.58
                                                              Labor Expenses for               4,175.00    3620-000                                                     95,442.58
                                                              Auction
                                                              Lights                              500.00   3620-000                                                     95,442.58
06/29/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                    106.09           95,336.49
07/31/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                    147.30           95,189.19
08/31/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                    141.47           95,047.72
09/28/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     72.91           94,974.81
10/31/18                  Rabobank, N.A.                    Bank and Technology Services Fee               2600-000                                     85.86           94,888.95
01/25/19      {26}        IMA Inc Wichita Division          Refund of Citizens Insurance Co of America     1229-000               40.00                                 94,928.95
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                                                                                                       Subtotals :        $120,791.00            $25,862.05
  {} Asset reference(s)                                                                                                                      Printed: 10/26/2021 11:24 AM    V.20.36
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                                                          Cash Receipts And Disbursements Record
Case Number:         18-10177-7 DLS                                                                    Trustee:         DARCY D. WILLIAMSON (360070)
Case Name:           Social Networking Technology Inc.                                                 Bank Name:       Mechanics Bank
                                                                                                       Account:         ******0666 - Checking Account
Taxpayer ID #:       **-***0871                                                                        Blanket Bond:    $23,898,000.00 (per case limit)
Period Ending:       09/30/21                                                                          Separate Bond:   N/A

   1           2                          3                                        4                                          5                  6                     7
 Trans.     {Ref #} /                                                                                                      Receipts       Disbursements            Checking
  Date      Check #            Paid To / Received From                Description of Transaction             T-Code           $                 $               Account Balance
03/06/19      104         Electronix Recyclers Inc           Preparation of Computers for Sale              2990-000                                 7,290.00          87,638.95
04/16/19       {2}        Wichita Finco LLC                  Sale Proceeds from Personal Property per       1129-000         100,000.00                               187,638.95
                                                             Order dtd 5/7/18
04/16/19       {2}        Chubb & Son, A Div of Fed          Sale Proceed of Personal & Intellectual        1129-000         100,000.00                               287,638.95
                          Insurance Company                  Property per Order dtd 5/7/18
04/16/19      105         Fast Pay Partners LLC              Secured Claims on Personal Property per        4210-000                             10,000.00            277,638.95
                                                             4/11/2019 Order
04/19/19      106         Fast Pay Partners                  Per Compromise and Settlement Agreement of 4210-000                                200,000.00             77,638.95
                                                             4/11/2019
05/08/19                  Transition Transfer Debit                                                         9999-000                             77,638.95                    0.00
                                                                             ACCOUNT TOTALS                                  320,791.00         320,791.00                   $0.00
                                                                                 Less: Bank Transfers                              0.00          77,638.95
                                                                             Subtotal                                        320,791.00         243,152.05
                                                                                 Less: Payments to Debtors                                               0.00
                                                                             NET Receipts / Disbursements                   $320,791.00       $243,152.05




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  {} Asset reference(s)                                                                                                                     Printed: 10/26/2021 11:24 AM    V.20.36
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                                                     Cash Receipts And Disbursements Record
Case Number:       18-10177-7 DLS                                                           Trustee:         DARCY D. WILLIAMSON (360070)
Case Name:         Social Networking Technology Inc.                                        Bank Name:       Mechanics Bank
                                                                                            Account:         ******0666 - Checking Account
Taxpayer ID #:     **-***0871                                                               Blanket Bond:    $23,898,000.00 (per case limit)
Period Ending:     09/30/21                                                                 Separate Bond:   N/A

  1           2                     3                                   4                                          5                  6                     7
Trans.     {Ref #} /                                                                                            Receipts       Disbursements          Checking
 Date      Check #         Paid To / Received From           Description of Transaction           T-Code           $                 $             Account Balance


                                                                                                                    Net             Net                   Account
                                                                    TOTAL - ALL ACCOUNTS                          Receipts     Disbursements              Balances
                                                                    Checking # ******9642                          82,039.70          51,306.54            108,372.11
                                                                    Checking # ******0666                         320,791.00         243,152.05                  0.00

                                                                                                                 $402,830.70       $294,458.59           $108,372.11




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 {} Asset reference(s)                                                                                                           Printed: 10/26/2021 11:24 AM    V.20.36
